                                                                                                                                                                                                                                 USP
                                                                                                                                                                                                                                 FIRS*
                                                                                                                                                                                                                             062S00C
                                                                                                                   U.S. DISTRICT COURT
Case 9:20-cv-00043-RC-CLS Document 7 Filed 12/18/20 Page 1 of 1 PageID #: 106




                                                                                                                                                                            Cl- 3-X    . . 0 ( A i f s:i
                                                                                                                   EASTERN DISTRICT OF TEXAS                                                                       S96269.il 8
                                                                                                                          104 M. THIRD
                                                                                                                        LUFKIN, TX 75901
                                                                                                                        OFFICIAL BUSINESS
                                                                                                                                                                             '-ASTER D!STRiC ¦ 1
                                                                                                                                                                   ¦ 7 S3 1?5C                       :¦ f 2 I, I
                                                                                                                                                                                 O SBtvD R
                                                                                                                                                                   .r B E O .FOS- A aD
                                                                                                                                                                   u B ¥ T.7> F-n tfA.RO
                                                                                                                                                                   RETUR O iSSKOBR
                                                                                                                  UNITED STATES DISTRICT COURT
                                                                                                                     EASTERN DISTRICT OF TEXAS
                                                                                                                      104 NORTH THIRD STREET
                                                                                                                         LUFKIN, TEXAS 75901
                                                                                                                          OFFICIAL BUSINESS
                                                                                                                                   Edward Herrera 585206
                                                           Case9:20-cv 43RCKFGDocument5Fild1/230Page1of2 lD#:10                    Carole Young Medical Facility
                                                                                                                                   5509 Attwater Ave.
                                                                                                                                   Dickinson, TX 77539
